DOCKET ENTRIES

GUDICTAL PANEL ON MULPIDISTRICT LITIGATION

In re Texas Municipalities/Southwestern Bell Telephone Co. Fee
Ordinance Litigation

 

91/09/10

i

7
'
t

91/09/13) 2

i
|
91/09/20!
|

91/09/23 |

91/09/30

91/10/02

91/10/09

91/10/18

 

Pleading De

 

 

MOTION, BRIEF, SCHEDULE OF ACTIONS -- filed by City of
Harlingen for transfer of actions w/cert. of svc. and
Exhibits A thru Q and affidavit of David G. Osborn --
SUGGESTED TRANSFEREE DISTRICT: S.D. Texas -- SUGGESTED
TRANSFEREE JUDGE: Hon. George P. Kazen (ds)

Mot en |

RESPONSEABREEP, SCHEDULE OF ACTIONS, CERT. OF SVC. (filed
in accordance to Rule 10(h)) -- filed by City of Mesquite,
Texas, w/Exhibits (volume 1, 2 & 3) -- Notified counsel
papers filed as Response (ds) (See Pilg #5

APPEARANCES -- RAY G. BESING, ESQ. for The City of MESQUITE,
TEXAS; ROBERT EDWIN DAVIS, ESQ. for Southwestern Bell
Telephone Co., et al. and Carlton J. Richard and WESTON C.
LKOEGERING, ESQ. for Southwestern Bell Corporation (ds)

APPEARANCES -- DONALD C. MCCLEARY, ESQ. for Southwestern Bell
Telephone Company; DAVID J. LABREC, ESQ. for City of

Harlingen, Texas and JAMES LUDLUM, JR., ESQ. for The City of
Brownsville, Texas (ds)

RESPONSES (to pldgs. #1 and 2) -- filed by Southwestern Bell
Telephone co., Southwestern Bell Corp., Southwestern Bell
Yellow Pages, Inc., Metromedia Paging Services, Inc.,
Southwestern Bell Telecommunications, Inc. and Carlton J.
Richards w/exhibits A thru I and cert. of sve. (ds)

RESPONSE -- (Filed in Accordance to Rule 10(H)) -- City of
Brownsville -- w/cert. of sve. (rh)

NOTICE/MOTION TO WITHDRAW (MOTION - pldg. #1) -- filed by
The City of Harlingen w/exhibit A (order of transfer),
proposed order to withdraw motion and w/cert. of svc. (ds)

HEARING ORDER -- setting motion to transfer for Panel Hearing
on November 22, 1991 in West Palm Beach, Florida -- Notified
involved clerks, Judges and counsel (srg)

 
/2Mi FORM 1A
DOCKET ENTRIES

JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

 

 

 

Pleading Description

RESPONSE -- (to pldg. #5) Southwestern Bell Telephone
Company; Southwestern Bell Corporation; Southwestern Bell
Yellow Pages, Inc.; Metromedia Paging Services, Inc.;
Southwestern Bell Telecommunications, Inc. and Carlton J.
Richards -- w/cert. of svc. (received 10/29/91) (rh)

 

91/11/08 RESPONSE -- (to pldg. #5) Filed by deft. City of Harlingen --
w/cert. of svc. (sg)

91/11/18 LETTER -- (reference to hearing on November 22, 1991) signed
by Robert E. Davis -- counsel for Southwestern Bell Telephone
Co., et al. -- w/cert. of sve. (sg).

91/11/20 LETTER -- (Subsequent information) Deft. City of Harlingen --
w/Exhibits A and B, and Cert. of Sve. (kac)

91/11/22 HEARING APPEARANCES (for Panel Hearing in West Palm Beach,
Florida on 11/22/91) -- FRANCIS B. MAJORIE, ESQ. for The City
of Mesquite, Texas, DAVID J. LABREC, ESQ. for City of
Harlingen, Texas, ROBERT EDWIN DAVIS, ESQ. for Southwestern
Bell Telephone Company, Southwestern Bell Yellow Pages, Inc.,
Metromedia Paging Services, Inc., Southwestern Bell
Telecommunications, Inc., Carlton Richards, Southwestern Bell
Corporation (kac)

91/12/03 LETTER -- (Subsequent information) signed by David LaBrec for
defts. City of Harlingen (re: A-2) -- w/cert. of sve. (kac)

91/12/10 CONSENT OF TRANSFEREE COURT -- For transfer of litigation to
the Northern District of Texas to the Hon. Robert B. Maloney
for pretrial proceedings (rh)

91/12/10 TRANSFER ORDER -~ Transferring A-3 & A-4 to the Northern

District of Texas pursuant to 28 U.S.C. §1407 -- Notified
involved judges, clerks, counsel, panel judges and misc.

recipients (rh)

 

 

 
JPML Form 1
®@

Revised: 8/78

DOCKET NO. 903. -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

CAPTION: _IN RE TEXAS MUNICIPALITIES/SOUTHWESTERN BELL TELEPHONE CO. FEE ORDINANCE LITIGATION

 

 

SUMMARY OF LITIGATION

 

Hearing Dates Orders

' Trans feree
November 22, 1991

 

Dates Filed Type Citation District | Name of Judge Assigned From
December 10, 1991 TO Unpublished N.D. Texas «+. Hon. Robert B. Maloney

 

 

 

 

 

Special Transferee Information

DATE CLOSED: al; U (§

 
VED ACTIONS
JPML FORM 1 LISTING OF INVOL

DOCKET NO. 903. -— _In re Texas Municipalities/Southwestern Rell Telephone Co Fee Ordinance Litigation

 

 

Intra- District] Civil TransferedDate of
Office and Action Transfer| Docket Pismissal
Number Caption Judge Number Date Number for Remand

 

The City of Mesquite, etc. v. Southwestern | Tex.,N. | CA3@§-0115-I - — | 99 25
Bell Telephone Company, et al. Maloney

Southwestern Bell Telephone Company, et Tex. ,N. | CA3-90-2404-Dj vsciedated forte 392 96 23-12
al. v. City of Harlingen, et al. “Maloney Ob’

The City of: Brownsville, et al. v. Tex.,S. | B-90-200 Veo Vorg\e? 42-53 -7
Southwestern Bell Telephone Company, Kazen genset dad 71 3-92 5
al. ,

2-26-92

The City of Brownsville, et al. v. Vk \o4\ (43-72 -Be T4- a /3(%5
Southwestern Bell Telephone Company
Sk (es 1972

éZ ye] LTr ] 2 Peoding
J

Septvmber 1975 Same

— “LS + a a asec)
De pbermber (AVS (tigation closes

 

 

 

 

 

 

 

 
JPML Form 4

ATTORNEY SERVICE LIST
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 903 -- In re Texas Municipalities/Southwestern Bell Telephone
Co. Fee Ordinance Litigation

 

 

 

THE CITY OF MESQUITE, TEXAS (A-1)
Ray G. Besing, Esq.

Ray G. Besing & Associates, P.C.
300 Crescent Court, Suite 1150
Dallas, TX 75201

SOUTHWESTERN BELL TELEPHONE Co.,
ET AL. (A-2) (Also a Deft.)

CARLTON J. RICHARD

Robert Edwin Davis, Esq.

Johnson & Gibbs, P.C.

900 Jackson Street

Dallas, TX 75202

Donald Cc. McCleary, Esq.
Gardere & Wynne
1601 Elm Street, Suite 3000

Dallas, TX 75201

SOUTHWESTERN BELL CORPORATION
Weston C. Loegering, Esq.
Johnson & Gibbs, P.C.
(address listed above)

CITY OF BROWNSVILLE, ET AL.
(A-3 and A-4) (also a Deft.)

James Norman Ludlum, Esq.

Ludlum & Ludlum

807 Brazos, Suite 314

Austin, TX 78701

CITY OF HARLINGEN
David LaBrec, ESq.
Strasburger & Price
Post Office Box 50100
4300 NCNB Plaza

901 Main Street
Dallas, TX 75202

 
 

JPML FORM 3

 

pe ZL
COMMON PARTY CHECKLIST -- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

DOCKET NO. 903 -- In re Texas Municipalities/Southwestern Rell Telephone. Co

Name of Par Named as Par in Following Actions

Southwestern Bell Telephone

Company

Southwestern Bell Corporation

City of Harlingen

City of Brownsville

Cariton J. Richards

 
